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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                   )
 IN RE:                                            )         CASE NO. 17-58569-CRM
 IAN LEE LAMBERT                                   )         CHAPTER 13
                           DEBTOR                  )
                                                   )

NOTICE OF APPEARANCE PURSUANT TO BANKRUPTCY RULE 9010 (b) AND REQUEST
FOR NOTICES UNDER BANKRUPTCY RULE 2002 REGARDING PROPERTY DESCRIBED
AS 2643 SPENCERS TRACE NE, MARIETTA, GA 30062 AND THAT CERTAIN LOAN MORE
            SPECIFICALLY IDENTIFIED AS LOAN NUMBER *******9006


        NOW COMES SunTrust Mortgage Inc., by and through its attorney Brock and Scott, PLLC,
pursuant to Bankruptcy Rule 9010 and makes its appearance as a secured creditor in this cause and,
pursuant to Bankruptcy Rule 2002, requests that it be noticed on all pleadings, documents and hearings;
that it receive copies of all documents; and be added to the matrix to be served at the addresses below:
Mallory Velten
Brock and Scott, PLLC
Attorneys at Law
4360 Chamblee Dunwoody Rd. Suite 310
Atlanta, GA 30341
gabkr@brockandscott.com

SunTrust Mortgage, Inc.
PO Box 27767
Richmond, Virginia 23261

        Please take notice that Mallory Velten hereby appears as counsel for SunTrust Mortgage Inc.
pursuant to Bankruptcy Rule 9010(b). The undersigned’s filing of this notice is limited to the instant case
noted above and should not be construed as unlimited representation of the Creditor with respect to any and
all matters, proceedings, or actions that may be taken in the instant case or any associated case or proceeding
involving the above named Creditor.

                                                            RESPECTFULLY SUBMITTED,
                                                            /s/ Mallory Velten
                                                            Mallory Velten, Attorney at Law (726971)
                                                            Brock & Scott, PLLC
                                                            4360 Chamblee Dunwoody Rd. Suite 310
                                                            Atlanta, GA 30341
                                                            404-789-2661
                                                            404-294-0919
                                                            gabkr@brockandscott.com
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                                    CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of
Appearance has been electronically served or mailed, postage prepaid on August 18, 2017 to the
following:

Ian Lee Lambert, Debtor
2643 Spencers Trace
Marietta, GA 30062

Howard P. Slomka, Debtor's Attorney
Overlook III, Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley, Bankruptcy Trustee
Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303

                                                /s/ Mallory Velten
                                                Mallory Velten, Attorney at Law (726971)
                                                Brock & Scott, PLLC
                                                4360 Chamblee Dunwoody Rd. Suite 310
                                                Atlanta, GA 30341
                                                404-789-2661
                                                404-294-0919
                                                gabkr@brockandscott.com
